                        Case 5:18-mj-00004-gwc Document 426 Filed 03/24/23 Page 1 of 1
AO I 06 (Rev. 04/10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                                                                                 2023 MAR 24 ffi 2: 51
                                                                District of Vermont

              In the Matter of the Search of                             )
         (Briefly describe the property to be searched                   )
          or identify the person by name and address)                                Case No. 2:18-mj-4
                                                                         )
   data associated with beratay@live.com stored on premises              )
              controlled by Microsoft Corporation.                       )
                                                                         )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  See Attachment A, incorporated herein.
located in the               Western              District of
                    --------                                    - - - - Washington
                                                                        - - ~ - - - - - , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B, incorporated herein.


          The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more):
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                            Offense Description
        18 U.S.C.   §   1512(a)(1)                 Killing another person with intent to prevent communication to law enforcement
        18 U.S.C.   §   1201                       Use of interstate facility or interstate travel for kidnapping
        18 U.S.C.   §   1343                       Wire Fraud
        18 U.S.C.   §   1958                       Murder for hire
          The application is based on these facts:
        See Attached Affidavit, incorporated herein.

           ~ Continued on the attached sheet.
           0 Delayed notice of
                                                                                   t                  ~It
                                                 days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth

                                                                                      .t:~~ed

                                                                                                  ,.___"~
                                                                          _ _ ____.__ _ _ _A_P,_>p_ti_·ca-n--;.~,---s-s-ig_n_a-tu-re_ _ _ _ _ _ __

                                                                                          Patrick R. Hanna, FBI Special Agent
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state: Burlington, Vermont                                                Hon. Geoffrey W. Crawford, U.S. District Judge
                                                                                                    Printed name and title
